Case 1:18-cr-00820-JSR Document 34 Filed 07/16/19 Page 1 of 7

a

7-1 LIMS (Rev 10-2-17)

 

 

UNCLASSIFIED
Eqa £20 (\se) U SySaygc—

2501 Investigation Parkwa
F Bl Laboratory Quantico, Virginia 29135
4940 Fowler-Road
Huntsville, Alabama 35898

LABORATORY REPORT
To: Joseph John Capaccio Date: November 7, 2018

New York
Case ID No.: NY-3005093

Lab No.: 2018-03241-3

 

 

 

 

 

 

Communication(s): October 30, 2018 USDC SDN y

Agency Reference(s): DOCUMENT

Subject(s): | ELECTRONICALLY FILED
Victim(s): | AGG
Discipline(s): Explosives Chemistry | DATE FILED: A =A

 

 

FBI Laboratory Evidence Designator(s):

The following items associated with Device 5 (Waters package) were designated Laboratory
Number 2018-03241 #1 under FBI Case NY-3005093:

Item 3-1 Powder sample from Item 3 (1B23-E6259371)
Item 4-1-1 Powder sample from Item 4-1 (1B23-E6259371)

The following items associated with Device 4 (Obama package) were designated Laboratory
Number 2018-03241 #2 under FBI Case NY-3005093:

Item 7-1 Powder sample from Item 7 (1B20-E5520897)
Item 8-1-1 Powder sample from Item 8-1 (1B20-E5520897)

The following items associated with Device 1 (Soros package) were designated Laboratory
Number 2018-03241 #3 under FBI Case NY-3005093:

Item 10 Soil sample (1B4-E6261702)
Item 11 Soil sample (1B3-E6261701)
Item 12 Soil sample (1B5-E6261703)
Item 13-1 Powder sample from Item 13 (1B9-E6261718)
Item 14 Soil sample (1 B8-E6261720)
Page | of 8
UNCLASSIFIED

- Lab Report-Released-(68551) pdf
Case 1:18-cr-00820-JSR Document 34 Filed 07/16/19 Page 2 of 7

a

UNCLASSIFIED
Item 16-1 Powder sample from Item 16 (1B10-E6261707)
Item 17 Powder sample (1B2-E6261700)
Item 28 Tarp (1B6-E6261704)

The following items associated with Device 8 (Biden package) were designated Laboratory
Number 2018-03241 #4 under FBI Case NY-3005093:

Item 31-1 Powder sample from Item 31

Item 32-1-1 Powder sample from Item 32-1]

The following items associated with Device 9 (2"¢ Biden package) were designated
Laboratory Number 2018-03241 #5 under FBI Case NY-3005093:

Item 35-1] Powder sample from Item 35

Item 36-1-1 Powder sample from Item 36-1

The following items associated with Device 3 (Brennan CNN/Time Warner package) were
designated Laboratory Number 2018-03241 #6 under FBI Case NY-3005093:

Item 38-1 Powder sample from Item 38 (1B22-E6261698)
Item 88 Powder sample (1B60-E6228494)

The following items associated with Device 10 (De Niro package) were designated
Laboratory Number 2018-03241 #7 under FBI Case NY-3005093:

Item 41-1 Powder sample from Item 41 (1B28-E6261721)
Item 42-1-1 Powder sample from Item 42-1 (1B28-E6261721)

The following items associated with Device 2 (Clinton package) were designated Laboratory
Number 2018-03241 #8 under FBI Case NY-3005093:

Item 45-1 Powder sample from Item 45 (1B21-E6261697)
Item 46-1-1 Powder sample from Item 46-1 (1B21-E6261697)

The following items associated with Device 7 (Holder package) were designated Laboratory
Number 2018-03241 #9 under FBI Case NY-3005093:

Item 52 Powder sample from Item 47 (1B55-E652959)
Item 53 Powder sample from Item 47 (1B56-E652958)
Item 54 Debris (1B57-E652957)

Page 2 of 8

2018-03241-3
UNCLASSIFIED

- Lab Report-Released-(68551).pdf
Case 1:18-cr-00820-JSR Document 34 Filed 07/16/19 Page 3 of 7

UNCLASSIFIED

The following items associated with Device 15 (CNN package) were designated Laboratory
Number 2018-03241 #17 under FBI Case NY-3005093:

Item 95 Powder sample (1B206-E6207201)
Item 96 Powder sample (1B207-E6207202)
Item 97 Powder sample (1B208-E6207203)

The following items associated with Device 16 (2"4 Steyer package) were designated
Laboratory Number 2018-03241 #18 under FBI Case NY-3005093:

Item 93-1-1 Powder sample from Item 93-1 (1B259-E5523925)
Item 94 Powder sample from Item 91 (1B260-E5523926)

This report contains the results of the chemistry examinations performed by the Explosives Unit
(EV) and the Scientific Analysis Unit (SAU).

Results of Examination:

Item 4-1-1, Item 8-1-1, Item 13-1, Item 32-1-1, Item 36-1-1, Item 42-1-1, Item 46-1-1,
Item 56-1-1, Item 60, Item 68-1-1, Item 81-1-1, Item 84, Item 88, Item 93-1-1, and Item 95 were
not energetic materials. The completed results of examinations for these items are the subject of
a separate report by the Chemistry Unit (CU).

Item 10, Item 11, Item 12, Item 14, and Item 28 were not analyzed due to the presence of
bulk material in Item 17.

Item 53 and Item 54 were not analyzed due to the presence of bulk material in Item 52.

Item 16-1 was identified as a mixture of the oxidizers potassium nitrate and potassium
perchlorate, dolomite, and material consistent with quartz. Limited analyses were conducted on
Item 16-1 due to small sample size and the presence of bulk material in Item 17.

Item 96 and Item 97 were analyzed collectively because they came from the same
powder source.

Item 3-1, Item 7-1, Item 17, Item 31-1, Item 35-1, Item 38-1, Item 41-1, Item 45-1, Item
52, Item 55, Item 61, Item 67-1, Item 73-2, Item 74-2, Item 80, Item 85, Item 94, Item 96, and
Item 97 were mixtures of grey powder, spheres, orange particles, and glass. The completed
results of examinations of the orange particles and glass components are the subject of a separate
report by the Trace Evidence Unit (TEU). The following table summarizes the results from
examining the loose powder and spheres (all identifications unless noted otherwise):

Page 4 of 8

2018-03241-3
UNCLASSTFIED

- Lab Report-Released-(68551) pdf

 
Case 1:18-cr-00820-JSR Document 34 Filed 07/16/19 Page 4 of 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UNCLASSTFIED
Item Oxidizer(s) Fuel(s) Other Component(s)
3-1 {Barium Nitrate Charcoal’ —|Cyanuric Acid’, Trichloroisocyanuric Acid!
Copper Oxide Magnalium jAluminum Sulfate
Potassium Nitrate Sulfur Potassium Chloride
Potassium Perchlorate Potassium Magnesium Sulfate!
Urea
7-1 {Barium Nitrate Charcoal! Cyanuric Acid’, Trichloroisocyanuric Acid!
Copper Oxide Magnalium {Aluminum Sulfate
Potassium Nitrate Sulfur Calcium Carbonate
Potassium Perchlorate Urea
Strontium Carbonate
17 |Barium Nitrate Charcoal! Cyanuric Acid', Trichloroisocyanuric Acid!
Copper Oxide Magnalium j|Ammonium Phosphate
Potassium Nitrate Sulfur Potassium Magnesium Sulfate!
Potassium Perchlorate Urea
Strontium Carbonate
31-1 |Barium Nitrate Magnalium |Cyanuric Acid!, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Potassium Chloride
Potassium Nitrate Potassium Magnesium Sulfate!
Potassium Perchlorate Urea
Strontium Carbonate
35-1 {Barium Nitrate Magnalium |Cyanuric Acid!, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Potassium Magnesium Sulfate!
Potassium Nitrate Urea
Potassium Perchlorate
Strontium Carbonate
38-1 \Barium Nitrate Magnalium [Cyanuric Acid!, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Calcium Carbonate
Potassium Nitrate Potassium Magnesium Sulfate!
Potassium Perchlorate Urea
Strontium Carbonate
41-1 |Barium Nitrate Magnalium {Cyanurie Acid!, Trichloroisocyanuric Acid’
Copper Oxide Sulfur Potassium Magnesium Sulfate!
Potassium Nitrate Urea
Potassium Perchlorate
Strontium Carbonate
45-1 |Barium Nitrate Magnalium |Cyanuric Acid!, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Calcium Carbonate
Potassium Nitrate Ammonium Phosphate
Potassium Perchlorate Potassium Magnesium Sulfate’
Urea
Page 5 of 8
2018-0324 1-3
UNCLASSTFIED

- Lab Report-Released-(68551).pdf

 

 
Case 1:18-cr-00820-JSR Document 34 Filed 07/16/19 Page 5 of 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UNCLASSIFIED
Item Oxidizer(s) Fuel(s) Other Component(s)
52 |Barium Nitrate Magnalium |Cyanuric Acid’, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Calcium Carbonate
Potassium Nitrate Potassium Chloride
Potassium Perchlorate Potassium Magnesium Sulfate!
Strontium Carbonate Urea
55 {Barium Nitrate Magnalium |Cyanuric Acid!, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Calcium Carbonate
Potassium Nitrate Potassium Chloride
Potassium Perchlorate Potassium Magnesium Sulfate!
Strontium Carbonate Urea
61 |Barium Nitrate Magnalium {Cyanuric Acid!', Trichloroisocyanuric Acid!
Copper Oxide Sulfur Urea
Potassium Nitrate
Potassium Perchlorate
67-1 |Barium Nitrate Magnalium |Cyanuric Acid', Trichloroisocyanuric Acid!
Copper Oxide Sulfur Potassium Magnesium Sulfate!
Potassium Nitrate Urea
Potassium Perchlorate
Strontium Carbonate
73-2 \Barium Nitrate Charcoal!
Copper Oxide Magnalium
Potassium Nitrate Sulfur
Potassium Perchlorate
74-2 |Barium Chromate Aluminum
Barium Sulfate Charcoal!
Copper Oxide Magnalium
Potassium Perchlorate Sulfur
Strontium Carbonate
80 |Barium Nitrate Magnalium |Cyanuric Acid', Trichloroisocyanuric Acid!
Copper Oxide Sulfur Calcium Carbonate
Potassium Nitrate Potassium Magnesium Sulfate!
Potassium Perchlorate Urea
85 {Barium Nitrate Magnalium {Cyanuric Acid’, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Potassium Magnesium Sulfate!
Potassium Nitrate Urea
Potassium Perchlorate
Strontium Carbonate
Page 6 of 8
2018-0324 1-3
UNCLASSIFIED

- Lab Report-Released-(68551) pdf

 

 
Case 1:18-cr-00820-JSR Document 34 Filed 07/16/19 Page 6 of 7

 

 

 

UNCLASSIFIED
Item Oxidizer(s) Fuel(s) Other Component(s)
94 |Barium Nitrate Aluminum — |Cyanuric Acid’, Trichloroisocyanuric Acid!
Copper Oxide Magnalium {Ammonium Phosphate
Potassium Nitrate Sulfur Dolomite
Potassium Perchlorate Urea
Strontium Carbonate
96, 97 [Barium Nitrate Magnalium |Cyanuric Acid’, Trichloroisocyanuric Acid!
Copper Oxide Sulfur Ammonium Phosphate
Potassium Nitrate Calcium Carbonate
Potassium Chloride
Potassium Magnesium Sulfate!
Urea

 

 

 

 

 

1 Consistent with

The oxidizers and fuels listed in the table above are commonly utilized in low explosive
pyrotechnic formulations. Magnalium is an aluminum and magnesium alloy. Upon direct
exposure to a flame, one or more portions of Item 3-1, Item 7-1, Item 17, Item 31-1, Item 35-1,
Item 38-1, Item 41-1, Item 45-1, Item 52, Item 55, Item 61, Item 67-1, Item 73-2, Item 74-2,
Item 80, Item 85, Item 94, Item 96, and Item 97 reacted energetically.

The combination of cyanuric acid and trichloroisocyanuric acid is consistent with some
commercially available pool shock formulations.

Possible fertilizer components listed in the table above include aluminum sulfate,
ammonium phosphate, calcium carbonate, dolomite, potassium chloride, potassium nitrate,
potassium magnesium sulfate, and urea.

The core powder removed from Item 73-3 and Item 74-3 contained a low explosive
mixture of the oxidizer potassium perchlorate and material consistent with charcoal (fuel).

Minor components were also present in Item 3-1, Item 7-1, Item 16-1, Item 17, Item 31-
1, Item 35-1, Item 38-1, Item 41-1, Item 45-1, Item 52, Item 55, Item 61, Item 67-1, Item 73-2,
Item 74-2 Item 80, Item 85, Item 94, Item 96, and Item 97 but not identified.

The terminology “consistent with” does not imply an identification of a specific
chemical or product. A substance, including explosives, is “consistent with” a material when the
analytical data does not support the identification of a specific chemical or product, but does
provide reliable information to include the substance within a class of materials. The phrase
“consistent with” is also used when an appropriate reference material could not be obtained.

Two or more of the following techniques were used in the analysis of the items: visual
and microscopic examinations, thermal susceptibility testing, infrared spectroscopy, X-ray

Page 7 of 8

2018-0324 1-3
UNCLASSIFIED

- Lab Report-Released-(68551) pdf

 

 
Case 1:18-cr-00820-JSR Document 34 Filed 07/16/19 Page 7 of 7

UNCLASSIFIED

powder diffraction, and scanning electron microscopy with energy dispersive X-ray
spectroscopy.

Remarks:

For questions about the content of this report, please contact Forensic Examiner
Christine M. Marsh at (256)213-2270.

For questions about the status of your submission, including any remaining forensic
examinations and disposition of the evidence, please contact Kevin D. Finnerty at
(703)632-7022.

This report contains the opinions and interpretations of the issuing examiner(s) and is
supported by records retained in the FBI files.

The work described in this report was conducted at the Quantico Laboratory.

Christine M. Marsh
Scientific Analysis Unit

Page 8 of 8

2018-03241-3
UNCLASSTFITED

- Lab Report-Released- (68551) pdf

 
